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                    UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

Kaiher Technology Co., Limited d/b/a   )
Kaiher-US,
                                       )   Case No. 1-25-cv-05846
      Plaintiff,                       )
                                       )
v.                                     )
                                       )
SCAN2CAD INC.                          )
                                       )   JURY TRIAL DEMANDED
                                       )
      Defendant.                       )


     PLAINTIFF’S MOTION FOR ELECTRONIC SERVICE OF PROCESS
        PURSUANT TO FED. R. CIV. P. 4(e) AND 735 ILCS 5/2-203.1


         Plaintiff Kaiher Technology Co., Limited (“Kaiher” or “Plaintiff”)

respectfully moves this Court for an order granting leave to serve Defendant by

e-mail (595507929@qq.com) pursuant to Federal Rule of Civil Procedure 4(e) and

735 ILCS 5/2-203.1.

         A memorandum of law in support is submitted concurrently with this

Motion.

DATED:    June 04, 2025         SHM LAW FIRM

                                By:    /s/ Hongchang Deng




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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
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Kaiher Technology Co., Limited d/b/a             )
Kaiher-US,
                                                 )    Case No. 1-25-cv-05846
      Plaintiff,                                 )
                                                 )
v.                                               )
                                                 )
SCAN2CAD INC.                                    )
                                                 )    JURY TRIAL DEMANDED
                                                 )
      Defendants                                 )

   MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR ELECTRONIC
 SERVICE OF PROCESS PURSUANT TO FED. R. CIV. P. 4(e) AND 735 ILCS 5/2-203.1


        Plaintiff Kaiher Technology Co., Limited ( “ Plaintiff ” ) respectfully seeks entry of an

order granting leave to serve Defendant SCAN2CAD INC. via email pursuant to Federal Rule of

Civil Procedure 4(e) and 735 ILCS 5/2-203.1. In support of this request, Plaintiff states as

follows:

I.     INTRODUCTION

        Plaintiff brings this action against SCAN2CAD INC. for a declaratory judgment of patent

non-infringement, invalidity, and unenforceability, as well as for tortious interference. Plaintiff

respectfully submits that service via email is reasonably calculated under the circumstances to

notify Defendant of this action and provide an opportunity to respond.

II.     LEGAL STANDARD

        Federal Rule of Civil Procedure 4(e)(1) permits service on an individual within a United

States judicial district by “ following state law for serving a summons in an action brought in


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courts of general jurisdiction in the state where the district court is located or where service is

made.”

         Under Illinois law, 735 ILCS 5/2-203.1 authorizes a court to order alternative service

“by special order of court” when service under 735 ILCS 5/2-203(a)(1) or (2)—i.e., by personal

delivery or abode service — has been impracticable. To obtain such an order, the movant must

submit a motion supported by a sworn statement showing that a diligent inquiry was made as to

the defendant’s location, and that reasonable efforts to effect service by conventional means have

failed. Where this showing is made, courts may authorize alternative methods of service

consistent with due process. See Fifth Third Bank v. Malone, 2010 U.S. Dist. LEXIS 4352 (N.D.

Ill. Jan. 20, 2010) (citing In re Marriage of Schmitt, 321 Ill. App. 3d 360 (2d Dist. 2001)).

         Federal and Illinois courts have approved service by email where the plaintiff

demonstrates that the email address is clearly linked to the defendant, is used for business

communications, and constitutes the most reliable means of providing notice. See International

Star Registry of Illinois, Ltd. v. Cheung, No. 1:08-cv-1378 (N.D. Ill. May 13, 2008) (authorizing

service via several of the defendant ’ s email addresses under Rule 4(e)(1) and 735 ILCS

5/2-203.1); see also Rio Props., Inc. v. Rio Int ’ l Interlink, 284 F.3d 1007, 1018 (9th Cir. 2002)

(approving email service where the defendant had no physical address and listed email as its

preferred contact method).

         A similar order issued by this Court authorizing email service under similar

circumstances is attached hereto as Exhibit 8.

III.      FACTUAL BACKGROUND

         Prior to initiating service, Plaintiff’s counsel conducted a diligent inquiry into

Defendant’s location by cross-referencing the address disclosed in the USPTO patent application




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with the principal and registered agent address listed in the Florida corporate registry. See

DECLARATION OF HONGCHANG DENG at ¶¶ 2-3.

       Plaintiff’s counsel attempted to serve Defendant at the Florida address listed in both the

Application Data Sheet submitted to the USPTO for U.S. Design Patent No. D1,063,856 (the

“ ‘ 856 Patent ” or “ the Claimed Design ” ) and the Florida Department of State, Division of

Corporations’ registration records: 7901 4th Street North, Suite 300, St. Petersburg, FL 33702.

See Exhibit 1; Exhibit 2. Relying on these official records, Plaintiff engaged a professional

process server to deliver the summons, complaint and the TRO motion to the identified location.

See Exhibit 3. On May 30, 2025, the process server visited the location and spoke with an

individual who stated they were authorized to accept service. However, that individual stated that

SCAN2CAD INC. was unknown to them. As a result, service was not completed. Id. at ¶ 4.

       Plaintiff's representative, Ms. Cassie Chen, communicated via WeChat with Mr. Yu, who

identified himself as a representative of Shenzhen Musk Industrial Co., Ltd., which is affiliated

with Defendant and is responsible for product lines in the same category as the accused product.

During that conversation, Mr. Yu confirmed that he or his company submitted the Amazon

infringement complaint at issue and refused to withdraw it. According to the WeChat chat

interface, Mr. Yu is physically located in Shenzhen, China. See Exhibit 4. See also Declaration

of Cassie Chen.

       Furthermore, Plaintiff reviewed the Bibliographic Data Sheet filed with the USPTO in

connection with the Claimed Design patent. That document lists Defendant’s address as located

in Shanghai, China, contradicting the Florida address. See Exhibit 5.

       Plaintiff has also obtained a copy of Defendant’s Amazon intellectual property complaint

notice, which identifies 595507929@qq.com as the sole contact information associated with the




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notice. See Exhibit 6. On May 24, 2025, Plaintiff sent an email to that address entitled “Request

for Immediate Withdrawal of Amazon Complaint No. 17735329741 Concerning ASIN

B0DD32WPRH,” providing notice of this potential dispute and formally requesting that

Defendant withdraw the complaint. See Exhibit 7. The email was successfully delivered without

triggering any bounce-back or delivery failure notification, but no response was ever received

from Defendant. Id. at ¶ 8.

IV.      ARGUMENT

A.      Electr onic Ser vice of Pr ocess is Pr oper Under Feder al Rule of Civil Pr ocedur e 4(e)

and 735 ILCS 5/2-203.1

        As previously noted, Federal Rule of Civil Procedure 4(e)(1) permits service by

following the law of the state where the district court sits. Illinois law, under 735 ILCS 5/2-203.1,

authorizes a court to permit alternative service by special order when personal or abode service is

impracticable. To obtain such relief, a plaintiff must submit a sworn declaration demonstrating

diligent efforts to locate the defendant and unsuccessful attempt at traditional service. Courts

routinely approve alternative methods—such as email—when reasonably calculated to provide

notice and satisfy due process. See Fifth Third Bank v. Malone, 2010 U.S. Dist. LEXIS 4352

(N.D. Ill. 2010). Email service is consistently upheld where the address is clearly linked to the

defendant and used for business purposes. See Int’ l Star Registry of Illinois, Ltd. v. Cheung, No.

1:08-cv-1378 (N.D. Ill. 2008); Rio Props., Inc. v. Rio Int ’ l Interlink, 284 F.3d 1007, 1018 (9th

Cir. 2002). A comparable order issued by this Court under similar circumstances is attached as

Exhibit 8.

        In the present case, despite Plaintiff’s diligent efforts, Defendant’s true physical address

remain uncertain, rendering traditional service under Rule 4(e)(2) and 735 ILCS 5/2-203(a)(1)–




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(2) impracticable. See Id. at ¶¶ 2–6. Plaintiff has attempted service at the Florida address listed

in both the USPTO Application Data Sheet and the Florida corporate registry. On May 30, 2025,

the process server visited the Florida address and spoke with an individual who stated they were

authorized to accept service. However, that individual stated that SCAN2CAD INC. was

unknown to them. As a result, service was not completed. Id. at ¶ 4. See also Exhibit 3.

       Further investigation revealed that Defendant listed a Shanghai, China address as its

applicant address in connection with the ’856 Patent. See Exhibit 5; Id. at ¶ 6. Moreover, during

communications with Mr. Yu, who identified himself as a representative of Shenzhen Musk

Industrial Co., Ltd., a company believed to be affiliated with Defendant and responsible for

product lines in the same category as the accused product, Plaintiff’s representative learned that

Mr. Yu is actually based in Shenzhen, China. See Exhibit 4; Id. at ¶ 5. These inconsistencies

raise serious questions regarding Defendant’s true location. When considered together with

Plaintiff’s unsuccessful attempt to serve Defendant at the Florida address, see id. at ¶ 4; Exhibit

3, these facts support a reasonable belief that the Florida address is not genuine and that service

at that location is impracticable.

       Under these circumstances, where the physical addresses of Defendant are either

unverifiable   or    misleading,     and   where       Defendant   identified   the   email   address

595507929@qq.com as its only point of contact in the Amazon intellectual property complaint

submitted against Plaintiff (see Exhibit 6), service by email is not only reasonably calculated to

provide actual notice, but also represents the only practical and reliable method available. See

Rio Props., Inc. v. Rio Int ’ l Interlink, 284 F.3d 1007, 1018 (9th Cir. 2002); In re Marriage of

Schmitt, 747 N.E.2d at 524. Accordingly, service by email is proper under Federal Rule of Civil

Procedure 4(e) and 735 ILCS 5/2-203.1.



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B.     Email Ser vice Complies with Constitutional Due Pr ocess

        Service by email in this case satisfies the constitutional requirements of due process

because it is a method reasonably tailored to provide Defendant with actual notice of this

proceeding and an opportunity to respond. Courts have consistently upheld email service when

traditional methods are ineffective and the defendant maintains an active digital presence. See

Rio Props. v. Rio Intern. Interlink, 284 F. 3d 1007, 1014 (9th Cir. 2002) (holding “without

hesitation,” that e-mail service of an online business defendant “was constitutionally

acceptable.”). Similarly, courts in this district have approved email service when the defendant

conducts business electronically and uses email to contact. See Exhibit 8.

        Here, Defendant provided the email address 595507929@qq.com as the exclusive contact

in its Amazon intellectual property complaint against Plaintiff. See Exhibit 6. Plaintiff contacted

Defendant through that address, and the email did not generate any error or bounce-back

notification.

        Under these circumstances, where Defendant’s physical address cannot be reliably

confirmed and electronic communication is evidently used in the ordinary course of business,

email service is both reasonable and appropriate. Courts have held that using an email address

disclosed by a defendant or actively used in commercial activities is sufficient to meet due

process standards. Courts have also recognized that service to an email address listed by a

defendant on its website can satisfy due process requirements. As the court explained in Sulzer

Mixpac AG v. Medenstar Industrial Co., 312 F.R.D. 329, 332 (S.D.N.Y. 2015), “[w]hile email

communications may also go astray or fail to come to the relevant individuals’ attention, the

Court finds that in this case, service to the email address listed on defendant’s website is

‘reasonably calculated, under all circumstances, to apprise interested parties of the pendency of




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the action and afford them an opportunity to present their objections.’”

         Accordingly, service by email in this case is proper under Federal Rule of Civil

Procedure 4(e) and 735 ILCS 5/2-203.1.

V.     CONCLUSION

       Plaintiff respectfully requests that the Court authorize service of process on Defendant

via email to 595507929@qq.com, pursuant to Federal Rule of Civil Procedure 4(e) and 735

ILCS 5/2-203.1.




DATED:     June 4, 2025                  Respectfully submitted,

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